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                                 UNITED STATES DISTRICT COURT
                                       District of Nevada


UNITED STATES OF AMERICA,            )            Case No. 3:19-CR-0026-LRH-WGC-6
Plaintiff,                           )
                                     )
       v.                            )                     PETITION FOR ACTION
                                     )                     ON CONDITIONS OF
IVY ELLIOTT                          )                     PRETRIAL RELEASE
Defendant                            )



       Attached hereto and expressly incorporated herein is a Petition for Action on Conditions

of Pretrial Release concerning the above-named defendant prepared by Jennifer Simone, Senior

U.S. Pretrial Services Officer. I have reviewed that Petition, and I concur in the recommended

action requested of the court.




    Dated this 4th day of December, 2020.

                                                          NICHOLAS A. TRUTANICH
                                                          United States Attorney


                                                          By     /S/
                                                               PETER WALKINGSHAW
                                                               Assistant U. S. Attorney
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PS 8
(Revised 12/04)



                                   UNITED STATES DISTRICT COURT
                                              for the
                                       DISTRICT OF NEVADA

U.S.A. vs. IVY ELLIOTT                                         Docket No: 3:19-CR-0026-LRH-WGC-6

                         Petition for Action on Conditions of Pretrial Release

         COMES NOW JENNIFER SIMONE, SENIOR U.S. PRETRIAL SERVICES OFFICER, presenting an
official report upon the conduct of defendant IVY ELLIOTT. The defendant initially appeared on
May 24, 2019, before U.S. Magistrate Judge Carla Baldwin and was ordered released on a
personal recognizance bond with the following conditions of release:

      1. The defendant shall report to U.S. Pretrial Services for supervision.
      2. The defendant shall maintain or actively seek lawful and verifiable employment and notify
          Pretrial Services or the supervising officer prior to any change.
      3. The defendant shall avoid all contact directly or indirectly with co-defendants unless it is
          in the presence of counsel.
      4. The defendant shall refrain from use or unlawful possession of a narcotic drug or other
          controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
          practitioner. This includes Marijuana and/or any item containing THC.
      5. The defendant shall submit to any testing required by Pretrial Services or the supervising
          officer to determine whether the defendant is using a prohibited substance. Any testing
          may be used with random frequency and may include urine testing, a remote alcohol
          testing system and/or any form of prohibited substance screening or testing. The
          defendant shall refrain from obstructing or attempting to obstruct or tamper, in any
          fashion, with the efficiency and accuracy of any prohibited substance testing or
          monitoring which is/are required as a condition of release.
      6. The defendant shall pay all or part of the cost of the testing program based upon his/her
          ability to pay as Pretrial Services or the supervising officer determines.
      7. The defendant shall not be in the presence of anyone using or possessing a narcotic drug
          or other controlled substances.
      8. The defendant shall participate in a program of inpatient or outpatient substance use
          therapy and counseling if Pretrial Services or the supervising officer considers it advisable.
      9. The defendant shall pay all or part of the cost of the substance use treatment program or
          evaluation based upon his/her ability to pay as determined by Pretrial Services or the
          supervising officer.
      10. The defendant shall submit to a mental health evaluation as directed by Pretrial Services
          or the supervising officer.
      11. The defendant shall participate in mental health treatment as directed by Pretrial Services
          or the supervising officer.
      12. The defendant shall pay all or part of the cost of the medical or psychiatric treatment
          program or evaluation based upon his/her ability to pay as determined by Pretrial Services
          or the supervising officer.
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On August 12, 2020, the defendant’s bond was modified, allowing limited contact with co-
defendants while participating in substance use and/or mental health treatment for treatment
purposes only.

Respectfully presenting petition for action of Court and for cause as follows:

   1. On November 6, 2020, the defendant submitted to a drug test which contained a
      positive result for methamphetamine.
   2. On November 18, 2020, the defendant met with our office and reported she used
      methamphetamine on or about November 17, 2020.
   3. On November 30, 2020, the defendant submitted to a drug test which contained a
      positive result for methamphetamine.

PRAYING THAT THE COURT WILL ORDER THAT A SUMMONS BE ISSUED BASED UPON THE
ALLEGATIONS OUTLINED ABOVE. FURTHER, THAT A HEARING BE SET TO SHOW CAUSE WHY
PRETRIAL RELEASE SHOULD NOT BE REVOKED.      ADDITIONALLY, IT IS RECOMMENDED THE
DEFENDANT’S BOND BE MODIFIED, ADDING A CONDITION THAT THE DEFENDANT RESIDE AT A
HALFWAY HOUSE AS CONSIDERED NECESSARY BY PRETRIAL SERVICES, AND THAT SHE PAY ALL
OR PART OF THE COSTS FOR RESIDING AT THE HALFWAY HOUSE BASED UPON HER ABILITY TO
PAY.


 ORDER OF COURT                                     I declare under penalty of perjury that the
                                                    information herein is true and correct.
 Considered and ordered this ____ day of            Executed on this 4th day of December,
 December, 2020 and ordered filed and made          2020.
 a part of the records in the above case.
                                                    Respectfully Submitted,



 ______________________________                     _____________________________
 Honorable Larry R. Hicks                           Jennifer Simone
 Senior U.S. District Judge                         Senior U.S. Pretrial Services Officer
                                                    Place: Reno, Nevada
